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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA

JMR FARMS, INC. et al.,                     Case No.: 20-cv-879 (PJS/HB)
                            Plaintiffs,

                 v.

C.H. ROBINSON WORLDWIDE, INC. et
al.,
                          Defendants.


      DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
   PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT AND
   IN SUPPORT OF DEFENDANTS’ MOTION FOR PARTIAL SUMMARY
                         JUDGMENT
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                                    INTRODUCTION

       Plaintiffs admit they cannot show the putative class of growers they seek to

represent was actually harmed. Instead, they fashion a novel theory of relief excusing their

fundamental burden of showing harm—a concept that, for good reason, no court has ever

sanctioned in this context.      Establishing actual harm is foundational to American

jurisprudence and an essential element of not only tort law, but for determining

justiciability at a constitutional level. Yet Plaintiffs contend they need not demonstrate this

essential element of their case in order to recover under the legal theories for which they

seek class certification. Plaintiffs’ contention is wrong.

       Plaintiffs claim violations of the Perishable Agricultural Commodities Act

(“PACA”) and a breach of fiduciary duty. To recover under these claims, they request the

Court ignore decades of case law in order to lighten their burden in a manner no court

considering similar claims and facts has done.

       Nothing in the language of PACA relieves a plaintiff’s burden of showing actual

harm—nor has any court construing PACA endorsed such a contention. Plaintiffs’ novel

interpretation of PACA regulations is unsupported and cannot absolve Plaintiffs from this

burden.

       Plaintiffs’ breach of fiduciary duty claim fares no better. State and federal case law

requiring actual harm caused by a breach of fiduciary duty are legion. To avoid the

crushing weight of authority they face, Plaintiffs attempt to exploit the Perl string of cases

arising out of the unique duties imposed upon attorneys. They purport to base such claims

on equity, but an end-run around of the black letter elements of a breach of fiduciary duty


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claim is the opposite of equitable. Equity, precedent, and constitutional justiciability all

demand Plaintiffs show actual harm to recover damages.

         In addressing these issues, the Court posed four questions concerning whether

Plaintiffs are required to show actual harm to recover damages for either a violation of

section 2 of PACA or a common law breach of fiduciary duty and, if proof of harm is not

required, how damages under each claim should be calculated. (ECF 142). Defendants

answer each question below.

                         STATEMENT OF RELEVANT FACTS

         Defendants C.H. Robinson Worldwide, Inc., C.H. Robinson Company, Inc., and

C.H. Robinson Company (collectively “CHR”) offer commercial marketing and sourcing

services through its Robinson Fresh division to growers around the world, including

Bowles Farming Company, Inc., and Bonne Idee, LLC (“Plaintiffs”). (Ex. 1, C.H.

Robinson Worldwide, Inc.’s 2021 Form 10-K).1 CHR’s commercial relationship with

Plaintiffs were contract-based.     (Ex. 2, CHR’s Responses to Plaintiffs’ First Set of

Interrogatories, No. 18; Baumann Dec. 10, 2021 Decl., ¶ 5 (attached as Exhibit 11)). These

contracts dictated the duties and obligations between CHR and Plaintiffs. (Ex. 3, Bowles

Farming Dep. Tr., 65:15-66:6; Ex. 4, Bonne Idee Dep. Tr., 95:22-96:19). Among other

things, the contracts provided CHR with complete control and discretion to sell the Plaintiff

growers’ produce “FOB” or “Delivered.” (Ex. 5, Bonne Idee 2017 Agreement, ¶ 5(c); Exs.

6-9, Bowles 2016-2019 Agreements, ¶ 5(c)).


1
    See Declaration of Mark Wallin, which attaches each exhibit referenced herein.


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       An “FOB” sale only includes the price of the produce, whereas a “Delivered” sale

includes the price of the produce plus any additional costs to sell, including, most

significantly, the cost of freight. (Ex. 10, CHR Dep. Tr. Vol. 1, 177:14-22; Ex. 3, 70:4-8;

Ex. 4, 120:18-121:17; Ex. 11, ¶ 5; Ex. 12, Baumann Dep. Tr., 57:11-19). Plaintiffs’

contracts provided that CHR would remit proceeds from the sales of their produce based

on the “FOB” sale price, not the “Delivered” sale price. (Ex. 5, ¶ 5(h)(iv); Exs. 6-9, ¶

5(h)(iv)).   All charges against the growers’ returns, such as freight rejection, are

contractually-based and disclosed to the growers through the grower’s online portal, the

Famous software they have access to, or upon request. (Ex. 11, ¶ 6; Ex. 12, 221:10-222:16;

Ex. 13, CHR Dep. Tr. Vol 2, 189:21-191:16).

       Robinson Fresh customers decide whether a sale is FOB or Delivered, and for

Delivered sales, the customer, not the grower, pays extra for CHR’s North American

Surface Transportation (“NAST”) division to arrange for freight. (Ex. 14, Castagnetto,

58:6-10, 73:5-74:11, 225:20-226:8; Ex. 11, ¶5-6; Ex. 12 51:3-12, 141:5-15; Ex. 4, 158:2-

4; Ex. 13, 205:7-16). As per contract, the proceeds CHR remits to growers exclude any

amounts paid by customers to CHR for freight. (Ex. 11, ¶ 6; Ex. 12, 92:2-93:7, 96:18-

97:10, 101:3-102:18; Ex. 13, 177:15-178:14, 186:25-187:7, 193:4-24, 205:2-206:14,

228:13-15; Ex. 15, CHR Dep. Tr. Vol. 3, 32:19-41:13).

       Plaintiffs and other growers were aware CHR brokered freight through NAST, and

that CHR, like other freight brokers, made profits on freight. (Ex. 4, 93:8-16, 128:15-20,

147:6-17, 151:2-17; Ex 16, Exhibit 214 to Bonne Idee Dep.; Ex. 3, 71:24-72:24, 147:14-

20; Ex. 17, Central Florida Fruit Dep. Tr., 75:7-22, 179:10-180:22; Ex. 18, Wainwright


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Rule Dep. Tr., 131:10-132:25, 159:5-21; Ex. 19, BG Catlin Dep. Tr., 212:6-213:10; Ex.

20, Hoosier Melons Dep. Tr., 75:5-15, 77:11-24, 177:6-180:21, 274:10-275:11; Ex. 21,

Melon Acres Dep. Tr., 160:13-161:2, 163:4-165:3). These were not “secret profits.” (Ex.

12, 70:12-73:7; Ex. 14, 188: 20-189:5, 189:25-193:13). CHR has no rule or policy against

providing freight information to growers, and has provided such information when asked.

(Ex. 12, Baumann, 72:16-73:7; Ex. 14, 109:2-11). However, growers rarely requested such

information. (Ex. 3, 72:10-73:3, 166:6-167:5, 189:13-20; Ex. 17, 138:9-139:10; Ex. 19,

134:15-17; Ex. 20, 90:20-91:2, 161:7-162:2, 175:13-18, 224:1-225:5, 231:17-22, 271:5-

11; Ex. 21, 110:6-25, 112:5-113:16, 147:14-148:18, 154:1-12, 195:4-19; Ex. 22, MEK

Dep. Tr., 100:9-12, 101:15-21, 122:10-18, 130:24-131:6, 165:9-11).

       In over two years of discovery, Plaintiffs have failed to develop any direct evidence

establishing CHR reduced the proceeds a grower received based upon the cost of freight,

and, in fact, the evidence in the record demonstrates freight does not reduce the FOB sales

price. (Ex. 14, 227:11-17, 229:8-15; Ex. 1260:20-61:1; Ex. 13, 205:11-16, 205:24-206:18;

Ex. 23, Tabron, 131:24-132:11; Ex. 24, Lemke, 93:14-94:14).

       Instead, Plaintiffs rely on out of context emails in an attempt to anecdotally support

their contention that freight effected grower returns.            (ECF 159 at 5). These

mischaracterized emails, however, do not establish what Plaintiffs suggest. Just the

opposite. These emails demonstrate Robinson Fresh endeavored to ensure growers were

not impacted by freight, and that freight charges negatively impacted Robinson Fresh, not

the growers. (See Baumann June 2, 2022 Decl. ¶ 6 (attached as Exhibit 25); Castagnetto

Decl., ¶ 8 (attached as Exhibit 26); Triestram Decl., ¶ 9 (attached as Exhibit 27)). Plaintiffs


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reference no other “evidence” supporting a finding of harm or damages on either an

individual or (proposed) class-wide basis.

                                 LEGAL STANDARD

       Summary judgment is appropriate when no genuine issue of material fact exists and

the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56; Luigino’s,

Inc. v. Peterson, 317 F.3d 909, 911 (8th Cir. 2003). Courts must view evidence and

inferences reasonably drawn from the evidence in the light most favorable to the

nonmoving party. Enterprise Bank v. Magna Bank of Missouri, 92 F.3d 743, 747 (8th Cir.

1996). “Summary judgment procedure is properly regarded . . . as an integral part of the

Federal Rules as a whole, which are designed to secure the just, speedy, and inexpensive

determination of every action.” Celotex Corp. v. Catrett, 477 U.S. 317, 327 (1986).

                             PLAINTIFFS’ PACA CLAIM

       1.       PACA Requires Proof Of Actual Harm For Recovery Of Damages
                Under Section 2.

       In the operative Amended Complaint and their Motion for Class Certification,

Plaintiffs claim CHR engaged in “unfair conduct” under PACA by failing to “truly and

correctly” account under 7 U.S.C. § 499b(4) (“Section 2”)—which states it is unlawful for

“any commission merchant, dealer or broker…to fail or refuse truly and correctly to

account and make full payment promptly in respect of any transaction in any such

commodity to the person with whom such transaction is had….” (ECF 67 at ¶ 184; ECF

90 at 9, 25).




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       The Court need not analogize to arcane, unrelated statutes, or a tenuous reading of

immaterial PACA regulations to determine that recovery of damages under Section 2

requires proof of actual harm. Instead, the Court need only look to the plain language of

the statutory provision allowing for “Liability to persons injured,” § 499e, under PACA,

and cases directly construing it.

       Section 499e(a) establishes liability for violations of Section 2:

              If any commission merchant, dealer, or broker violates any
              provision of [Section 2] he shall be liable to the person or
              persons injured thereby for the full amount of damages
              (including any handling fee paid by the injured person or
              persons under section 499f(a)(2) of this title) sustained in
              consequence of such violation.

7 U.S.C. § 499e(a) (emphasis added). The plain language of the statute provides that, to

be liable under Section 2, Plaintiffs must have been injured—they must have suffered

damages.

       Every federal court to analyze whether damages or injury must be shown to recover

for a violation of Section 2 has answered in the affirmative. For example, in S & S Packing,

Inc. v. Spring Lake Ratite Ranch, Inc.,2 the Eleventh Circuit reversed the district court’s

award because the grower failed to establish any injury was caused by the alleged record

keeping violations under Section 2. 702 F. App’x 874, 879-80 (11th Cir. 2017). The

grower failed to allege, and neither the USDA judicial officer nor district court found, that

they “suffered any damages” as a result of the “deficient recordkeeping” at issue. Id.



2
 Ignoring this part of the decision, Plaintiffs also cite to S & S Packing. As discussed
below, this case does not support their position that no harm need be shown under PACA.


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Citing §§ 499b(4) and 499e(a), the court explained, “PACA does not impose punitive

sanctions for sloppy bookkeeping; it has the familiar requirement that the violation must

have caused the injury for which the claimant is to be compensated.” Id. at 879.

       Likewise, in Carter v. Michael Cutler Co., the court dismissed a Section 2 claim,

citing §§ 499b and 499e(a), holding plaintiff’s claim failed because it did not allege

damages as a result of the PACA violation. No. 1:12CV95, 2013 WL 4788283, at *5-6

(M.D.N.C. Sept. 6, 2013), report and recommendation adopted, No. 1:12CV95, 2013 WL

12304562 (M.D.N.C. Oct. 18, 2013); see also Combined Prof’l Res., Inc. v. Limeco, Inc.,

801 F.Supp. 664, 673 (S.D. Fla. 1992), aff’d sub nom. Combined Prof’l v. Limeco, 9 F.3d

1558 (11th Cir. 1993) (finding defendant could not be held liable for a violation of §

46.32(a) of PACA’s regulations because plaintiff had “not demonstrated any harm

resulting therefrom”).

       Here, as in S&S Packing, Inc. and Carter, Plaintiffs must establish CHR’s alleged

PACA violation caused an injury in order for Plaintiffs to recover. No federal case that

has addressed this issue has held to the contrary and, as such, Plaintiffs must establish

actual harm in order to recover under Section 2.

              a.     Without Harm, Plaintiffs Lack Standing.

       Without establishing harm, Plaintiffs lack Article III standing for their PACA

claim.3 To establish standing, “the plaintiff must have (1) suffered an injury in fact, (2)



3
  Plaintiffs attempt to reframe the Court’s questions to avoid this standing issue. However,
this issue cannot be ignored by the Court. Article III standing is jurisdictional, and a
“plaintiff must demonstrate standing for each claim he seeks to press and for each form of

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that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to

be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338

(2016) (internal citation omitted). “To establish injury in fact, a plaintiff must show that

he or she suffered an invasion of a legally protected interest that is concrete and

particularized and actual or imminent, not conjectural or hypothetical.” Id. at 339 (internal

citation and quotation omitted). For an injury to be “particularized,” it must affect the

plaintiff in a personal and individual way. Id.; see also, Valley Forge Christian Coll. v.

Americans United for Separation of Church & State, Inc., 454 U.S. 464, 472 (1982)

(finding plaintiff must show he or she personally suffered actual or threatened injury caused

by the defendant’s alleged conduct to establish standing). A “concrete” injury must be “de

facto”— real, actually existing, and not abstract. Spokeo, 578 U.S. at 340.

       In Spokeo, the Supreme Court held that simply alleging a violation of a federal

statute did not necessarily satisfy the constitutional standing requirement and that some

concrete harm must be alleged. Id. at 342. Here, Plaintiffs have failed to establish the type

of concrete and particularized harm the Supreme Court has identified as necessary. They

have not shown actual harm that individually affects each Plaintiff and putative class

member. This is precisely what S & S Packing alluded to when the court stated PACA had

a “familiar requirement that the violation must have caused the injury[.]” 702 F. App’x at




relief that is sought.” Town of Chester, N.Y. v. Laroe Ests., Inc., 137 S. Ct. 1645, 1650
(2017); City of Clarkson Valley v. Mineta, 495 F.3d 567, 569 (8th Cir. 2007).


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879; see also, Schulz v. Pataki, 137 F. Supp. 2d 80, 83 (N.D.N.Y. 2001) (finding plaintiff

lacked standing for their PACA claim for failing to allege any distinct injury).

       This is consistent with PACA’s purpose “to ensure payment to the unpaid seller in

the perishable agricultural commodities industry” as non-payment would result in actual

harm. Jacobs Silver K Farms, Inc. v. Taylor Produce, LLC, 101 F. Supp. 3d 962, 969 (D.

Idaho 2015) (internal quotations omitted).4       “Through PACA, Congress sought ‘to

encourage fair trading practices in the marketing of perishable commodities by suppressing

unfair and fraudulent business practices. . . and providing for collecting damages from any

buyer or seller who fails to live up to his contractual obligations.’” Am. Banana Co. v.

Republic Nat. Bank of New York, N.A., 362 F.3d 33, 36 (2d Cir. 2004) (quoting H.R. Rep.

No. 98-543, at 3 (1983), reprinted in 1984 U.S.C.C.A.N. 405, 406). For Plaintiffs’ PACA

claims to be justiciable, harm is required.

              b.     Plaintiffs’ Latest, Novel PACA Theory is Meritless.

       Nearly two and a half years into this litigation, Plaintiffs have articulated a new

theory of recovery under PACA. This novel “disallowance” theory is unsupported by

statute and has never been adopted by a federal court construing PACA.5 Plaintiffs’ claim




4
  See also Coosemans Specialties, Inc. v. Gargiulo, 485 F.3d 701, 705 (2d Cir. 2007)
(“[PACA] provides growers and sellers of agricultural produce with a self-help tool
enabling them to protect themselves against the abnormal risk of losses resulting from
slow-pay and no-pay practices by buyers or receivers of fruits and vegetables.” (internal
quotations omitted)).
5
  Plaintiffs’ reliance on the § 8 of Interstate Commerce Act (“ICA”) to support their theory
is misplaced. In construing the ICA language relied upon by Plaintiffs, the Supreme Court

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support for this new theory in 7 CFR § 46, citing § 46.29(a), which states “[c]harges which

cannot be supported by proper evidence in the records of the commission merchant or joint

account partner shall not be deducted[,]” and § 46.32(c), which states:

              [u]nless a growers’ agent is specifically authorized in his
              contract with the growers to use the services of brokers,
              commission merchants, joint partners, or auctions, he is not
              entitled to use these methods or marketing the growers’
              produce. Any expense incurred for such services, without the
              growers’ permission, cannot be charged to the growers.

Neither section proves helpful.6

       Both sections contemplate an “expense” “charged” to a grower, and if the charge

was improper, the grower would logically have been monetarily harmed by it.7 However

neither provision, by its plain text meaning, authorizes a private right of action without

showing harm. In fact, given the Article III standing requirements discussed above, the

opposite should be presumed: actual injury is always a requirement.



held that a plaintiff must have “sustained some loss or injury.” Pennsylvania R. Co. v. Int’l
Coal Mining Co., 230 U.S. 184, 200, 206-08 (1913).
6
  Plaintiffs also point to second clause of § 499e(b) which states “this section shall not in
any way abridge or alter the remedies now existing at common law or by statute, and the
provisions of this chapter are in addition to such remedies.” This clause does not absolve
Plaintiffs of establishing harm. It merely means PACA does not preempt additional state
or common law brought on the same facts—such as Plaintiffs’ breach of fiduciary duty
claim. See, e.g., Jacobs Silver K Farms, Inc., 101 F. Supp. 3d at 971 (finding § 499e(b)
means PACA does not preempt state statutory law claim); Combs v. Spring Creek Produce,
LLC, No. 3:17-CV-121-HBG, 2017 WL 3687323, at *4 (E.D. Tenn. Aug. 25, 2017) (same).
7
  Section 46.29(a) contemplates a charge for which there is no “proper evidence.”
However, in such case the grower would have suffered a loss of revenue equivalent to that
charge—in other words, harm. No federal cases citing this provision support Plaintiffs’
theory that no harm need be shown.


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       Case authorities cited by Plaintiffs do not compel otherwise. S & S Packaging, does

not stand for the proposition cited by Plaintiffs, who claim the court cited § 46.32(c) and

“did not require Plaintiff to show actual damages.” (ECF 159 at 13). Nothing in S & S

Packaging indicates plaintiff had not established actual harm, nor that plaintiff sought to

be absolved of showing injury. Given that court’s earlier comments that “[PACA] has the

familiar requirement that the violation must have caused the injury for which the claimant

is to be compensated[,]” such an about-face would be remarkable. 702 F. App’x at 879.

The Eleventh Circuit also directed the district court to “calculate the damages due to

[plaintiff] consistent with this opinion,” indicating plaintiff’s monetary loss must be

measured. Id. at 885. This case is unhelpful to Plaintiffs.

       Plaintiffs likewise misapply the administrative ruling in Tom Lange Co., Inc. v.

Anic, Inc., PACA Dkt. R-93-81. In Tom Lange, a purchaser sought to off-set damages

owed to seller for unpaid, invoiced amounts based upon the sellers’ non-disclosure of

freight costs. The relationship in Tom Lange is unlike the relationship between CHR and

the Plaintiffs because Plaintiffs are not paying for transportation, customers are. 8 Under

Tom Lange, the cost of freight would be disclosed to customers, who pay for the freight,

not growers.


8
  As an administrative opinion, Tom Lange is not binding on this Court and is, at best,
entitled to Skidmore deference—assessed by looking at numerous factors including “the
thoroughness evident in [the agency’s] consideration, the validity of its reasoning, its
consistency with earlier and later pronouncements, and all those factors which give it the
power to persuade, if lacking the power to control.” Skidmore v. Swift & Co., 323 U.S. 134,
140 (1944). Given the factual distinctions between Tom Lange and the present case, the
Court need not afford Tom Lange any deference.


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       Moreover, the purchaser in Tom Lange was not awarded the non-disclosed freight

costs—the Administrative Law Judge merely off-set the total amount owed. Despite this

set-off, the ALJ ordered the purchaser to pay the amount the seller was damaged by

purchaser’s failure to pay amounts invoiced. Id. at 10 (“Section 5(a) of the Act requires

that we award to the person or persons injured by a violation of [Section 2] ‘the full amount

of damages sustained in consequence of such violations.’”). Further, had the purchaser

paid those amounts, it would have been harmed because it would have directly lost the

money paid to the seller, unlike Plaintiffs, who do not pay CHR for freight.

       Neither S & S Packaging, Tom Lange, nor any other federal court, has ever endorsed

Plaintiffs’ novel theory. Likely because that theory would undermine the bedrock principle

of justiciability implicit in every case.

       2.     Plaintiffs Cannot Recover Monetary Damages for an Alleged PACA
              Accounting Violation.

       In their Memorandum answering the Court’s questions, Plaintiffs fail to distinguish

between their two claims when discussing the appropriate measure of damages if no harm

is required. Rather, they propose their expert, D. Shawn Shaw, has constructed and

prepared a “freight topping” calculation capable of determining damages under the alleged

Section 2 violation and breach of fiduciary claims. However, as discussed in detail below,

this “damages” calculation is unsupported by law and factually cannot be calculated as

proposed.9


9
  In addition to the problems discussed below with Plaintiff’s reliance on their freight
topping calculation, this type of freight fee is the type of fee PACA identifies should not in
and of itself constitute a violation. 7 U.S.C. § 499b(4) (“this paragraph shall not be

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       Additionally, Plaintiffs contend that their novel “disallowance” theory would

require CHR to disgorge any and all freight markup, including the charges billed to and

paid by CHR’s freight customers. Even if their “disallowance” theory had a leg to stand

on—which, as discussed above, it does not—7 C.F.R. § 46.29(a) does not authorize this:

              When rendering account sales for produce handled for or on
              behalf of another, an accurate and itemized report of sales and
              expenses charged against the shipment shall be made. It is a
              violation of [Section 2] to fail to render true and correct
              accountings in connection with consignments or produce
              handled on joint account. Charges which cannot be supported
              by proper evidence in the records of the commission merchant
              or joint account partner shall not be deducted.

7 C.F.R. § 46.29(a) (emphasis added).

       Plaintiffs claim “any charges for which CHR failed truly and correctly to account

are by that very fact rendered entirely impermissible and must be awarded to the Growers

as damages.” (ECF 159 at 10) (Emphasis added). This is a disingenuous attempt to recover

third-party payments to CHR by seeking the disgorgement of freight charges, which

Plaintiffs have consistently failed to show had any impact on grower proceeds. Freight

charges do not reduce grower FOB. See supra. Plaintiffs do not support their novel

“disallowance” theory with evidence to the contrary, instead asking the Court to allow them

to seek as damages all “freight markup” other than carrier cost billed to and paid by CHR’s

customers. Such expenses are not recoverable under PACA, yet plaintiffs’ freight markup

calculation, discussed in detail below, is constructed to do exactly this.



considered to make the good faith offer, solicitation, payment, or receipt of collateral fees
and expenses, in and of itself, unlawful under this chapter.”)


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       The actual answer to the Court’s damages questions are more complicated and

dependent on each of Plaintiffs’ claims. For their Section 2 claim, even if Plaintiffs could

recover without showing harm, their “relief” would require an accounting. In fact, an

accounting may be the only remedy available for a Section 2 violation without showing

harm, although Plaintiffs have seemingly waived such relief at this late stage. Section

499e(a) establishes liability for a Section 2 violation as “the full amount of damages . . .

sustained in consequence of such violation.” As such, if Plaintiffs truly wish to proceed

on a class-wide basis without establishing damages, their remedy, were CHR found liable,

is not millions of dollars in “disgorgement,” but rather an accounting—which despite CHR

having already provided by disclosing its accounting data through discovery, Plaintiffs still

would not be able to use to show harm.

                 PLAINTIFFS’ BREACH OF FIDUCIARY CLAIM

       1.     Plaintiffs Cannot State a Claim for Breach of Fiduciary Duty Without
              Establishing Harm.

       To state a breach of fiduciary duty claim in Minnesota, it is black letter law that

Plaintiffs must plead and prove: duty, breach, causation, and damages. See, e.g., Hansen

v. U.S. Bank Nat’l Ass’n, 934 N.W.2d 319, 327 (Minn. 2019). The Minnesota Supreme

Court has stated a “breach of a legal duty without compensable damages … is not

actionable.” K.A.C. v. Benson, 527 N.W.2d 553, 561 (Minn. 1995). Yet Plaintiffs seek to

prove only duty and breach in the context of commercial transactions. This would swallow

more than half a century of Minnesota and federal jurisprudence. That cannot be the case.

The Perl line of cases⁠—Rice v. Perl, 320 N.W.2d 407 (Minn. 1982) (“Perl I”); Perl v. St.



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Paul Fire & Marine Insurance Co., 345 N.W.2d 209 (Minn. 1984) (“Perl II”); Gilchrist v.

Perl, 387 N.W.2d 412 (Minn. 1986) (“Perl III”) (collectively the “Perl Cases”)—are not

as broad as Plaintiffs contend, and their attempt to extend them beyond the attorney-client

relationship is unsupported by binding case law.

              a.     The Perl Cases Are Anomalous.

       The Restatement (Second) of Torts, § 874 (1979) states that “[o]ne standing in a

fiduciary relation with another is subject to liability to the other for harm resulting from a

breach of duty imposed by the relation.”          For over fifty years, Minnesota law has

consistently identified the same necessary elements of a breach of fiduciary duty claim.

See, e.g., Christy v. Saliterman, 179 N.W.2d 288, 294 (Minn. 1970) (discussing duty,

breach, causation, and damages as necessary to establish a breach of fiduciary duty claim

in an attorney-client relationship).

       Earlier this year, this Court cited Minnesota case law endorsing these essential

elements. Sorenson v. Sorenson, No. CV 20-2121 (MJD/DTS), 2022 WL 329678, at *6

(D. Minn. Feb. 3, 2022) (“To prevail on a breach-of-fiduciary-duty claim, a plaintiff must

prove four elements: duty, breach, causation, and damages.” (citation omitted)). Dozens,

if not hundreds, of decisions applying Minnesota common law identify causation and

damages to be essential elements of a breach of fiduciary duty claim and, since 1986 when

the Perl III decision, a wealth of Minnesota Court of Appeals and Minnesota Supreme

Court decisions identified causation and damages among the elements a plaintiff must

prove to succeed in a breach of fiduciary duty claim. See, e.g., Lund v. Lund, 924 N.W.2d

274, 284 (Minn. Ct. App. 2019) (“Because [plaintiff] failed to produce evidence of


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damages, an essential element of a breach-of-fiduciary-duty claim, we need not reach her

arguments with respect to other elements of her claim.”); see also, Raske v. Gavin, 438

N.W.2d 704, 706 (Minn. Ct. App. 1989) (identifying duty, breach, causation, and damages

as the elements of the claim and that “[f]ailure to prove any of these four elements defeats

recovery.”).

       As recently as February 2, 2022, the Minnesota Supreme Court found damages to

be an essential element of a breach of fiduciary duty claim—and in the very type of

attorney-client relationship examined in the Perl cases Plaintiffs assert as analogous and

authoritative for class recovery without proof of actual harm in the commercial litigation

at issue here. Mittelstaedt v. Henney, 969 N.W.2d 634, 640 (Minn. 2022) (“The elements

of a legal malpractice breach-of-fiduciary-duty claim are: (1) the existence of an attorney-

client relationship, which establishes a standard of conduct, i.e., the duty; (2) a breach by

the attorney of one or more of the fundamental obligations owed to the client under that

standard of conduct; (3) causation; and (4) damages.”); see also Hansen, 934 N.W.2d at

327.

       Hansen is particularly exemplative of the necessary role of damages in a breach of

fiduciary duty—particularly outside the attorney-client relationship. The case, brought by

beneficiaries against administrators of an estate, identified damages as the only element at

issue when examining the district court’s dismissal for failure to state a breach of fiduciary

duty claim. Id. at 327. The Court noted Minnesota’s “some damage” rule of accrual

requires actual financial harm or the loss of a legal right must be pled, id. at 327-28, and

that damages must be non-speculative:


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              The fundamental problem with U.S. Bank’s position—at least
              at this stage in the proceedings—is that nothing in the
              pleadings shows that U.S. Bank could have negotiated a better
              deal with CFP. There is also nothing in the pleadings
              suggesting that another buyer for the property existed who
              would have paid more than the Beneficiaries were ultimately
              paid under the deal that did close, or that the Estate would have
              been better off holding on to the property. Based on the
              allegations in the complaint, U.S. Bank’s statute of limitations
              argument rests on purely speculative harm. We cannot adopt a
              rule that would invite the kind of speculation inherent in the
              rejected occurrence rule of damage accrual.

Id. at 330. The court ultimately held plaintiff had properly pled damages, but limited them

to only those whose statute of limitations had not run and were non-speculative. Id. at 331.

       Here, Hansen and Minnesota law require that Plaintiffs must establish damages to

state their breach of fiduciary duty claim. Indeed, they must establish more than the

speculative damages which courts have rejected as inadequate to a breach of fiduciary duty

claim. Id. at 330. This, they cannot do and have consistently failed to provide evidence to

the contrary, instead relying on the unsupported and speculative proposition their expert’s

“freight topping” charges impacted the final FOB sale price. Absolving Plaintiffs from

establishing actual causation and damages would gut the breach of fiduciary duty cause of

action under Minnesota law.

              b.     The Perl Cases Are Inapposite.

       Plaintiffs understandably rely on the Perl Cases to support their position. If the Perl

Cases applied here, Plaintiffs’ burden would be exponentially lighter. However, the Perl

Cases are inapposite. Critically, the Perl defendants were attorneys who only owed a per

se fiduciary duty to their clients under Minnesota law and had defined, unambiguous



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obligations under the Rules of Professional Conduct—unlike CHR. Because of this, there

were significant public policy considerations underlying the Perl Cases, whose ultimate

decision was driven, in large part, by the long-standing policy in favor of penalizing

attorney misconduct. See, e.g., William A. Webster, Minnesota Adopts Sliding Scale

Approach to Determine Damages for an Attorney’s Breach of Fiduciary Duty, WILLIAM

MITCHELL L.R., 169 (1988) (attached as Exhibit 29). The heightened duties imposed on

attorneys, based upon centuries of American and English common law, cannot be

equivalent to the commercial, contractual relationship between CHR and the growers.

       In the Perl Cases, defendants were sued for breaching their fiduciary duties as

attorneys. Perl I, the genesis of Plaintiffs’ no-harm theory, relies entirely on the special

relationship between attorneys and clients. The defendants were an attorney and his law

firm (the “Perl Defendants”) who had represented plaintiff in her settlement of a tort claim.

Perl I at 408. The Perl Defendants negotiated the settlement with an insurance adjuster

who also worked part-time for the Perl Defendants. Id. This relationship was never

disclosed to plaintiff. Id. at 409.

       The Perl I Court affirmed the trial court’s judgment in plaintiff’s favor, despite a

failure to prove damages. Id. at 410-11. In doing so, the Court relied on principles

applicable specifically to the attorney-client relationship.     Id.   Relying on a legal

malpractice treatise, the court explained the “disclosure rule” imposed upon attorneys

defined the Perl Defendants’ obligations: “[t]he attorney is under a duty to represent the

client with undivided loyalty, to preserve the client’s confidences, and to disclose any

material matters bearing upon the representation of these obligations.”          Id. at 410


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(emphasis original) (citing R. Mallen & V. Levit, Legal Malpractice, § 121 at 208 (2nd ed.

1981)). The court went on to explain that “[a]n attorney has an obligation to prevent

placing his client in a position which might well taint a settlement transaction. The

profession’s standards of integrity demand no less.” Perl I at 411 (emphasis added).

       While the Perl I Court did state that “. . . an attorney (or any fiduciary) who breaches

his duty to his client forfeits his right to compensation[,]” Perl I, at 407 (emphasis added),

this parenthetical is nothing more than obiter dictum. Moore v. Robinson Env’t, 954

N.W.2d 277, 285 n.9 (Minn. 2021) (“Dicta are generally considered to be expressions in a

court’s opinion which go beyond the facts before the court and therefore are the individual

views of the author of the opinion and not binding in subsequent cases.”) (quoting State ex

rel. Foster v. Naftalin, 246 Minn. 181, 74 N.W.2d 249, 266 (1956). This parenthetical

comment went well beyond the facts of the Perl Cases, which dealt only with the attorney-

client relationship. As such, this Court need not, and should not, rely on such dicta.

Wandersee v. Brellenthin Chevrolet Co., 102 N.W.2d 514, 520 (Minn. 1960) (“Statements

and comments in an opinion concerning some rule of law or legal proposition not

necessarily involved nor essential to determination of the case in hand are obiter dicta, and

lack the force of an adjudication.”) (citation omitted)).

       Further, the Perl I Court’s statement that “an attorney (or any fiduciary) who

breaches his duty to his client forfeits his right to compensation[,]” is supported by In re

Estate of Lee and demonstrates why such a rule is, and should remain, limited to attorneys:

              It is equally well settled that an attorney at law who is
              unfaithful in the performance of his duties forfeits his right to
              compensation. An attorney is an officer of the court, sworn to


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              aid in the administration of justice and to act with strict fidelity
              to both his clients and the courts. Unquestioned fidelity to their
              real interests is the duty of every attorney to his clients. When
              a breach of faith occurs, the attorney’s right to compensation is
              gone.

Id. (citing In re Estate of Lee, 9 N.W.2d 245, 251 (1943)).

       The Perl I Court did not analyze, nor was it presented with, any other type of

fiduciary relationship and the Perl Cases’ decision to not require harm, applies only to the

unique contours of the attorney-client relationship.

       In fact, since the Perl Cases were decided, the Minnesota Supreme Court has never

extended the cases’ logic outside an attorney-client relationship.             Compare, e.g.,

Mittelstaedt, 969 N.W.2d at 639 (citing the Perl cases) with Hansen, 934 N.W.2d at 330

(no citation to the Perl cases). Thus, contrary to Plaintiffs’ contentions, the Perl Cases do

not sweep so broadly as to apply to all fiduciary relationships.

       When comparing the duties and obligations of an attorney versus other fiduciaries,

declining to extend Perl I’s dictum makes sense for practical reasons as well. It is black

letter Minnesota law that attorneys are per se fiduciaries of their clients—an important

distinction in this case, given that, as this Court has commented, CHR is not a per se

fiduciary. (ECF 155, 81:16-20). Thus, if CHR owes a fiduciary duty to growers (which it

does not), it could only be a de facto fiduciary. As such, and according to a legion of state

and federal case law, whether or not CHR owes a fiduciary duty is determined on a case-

by-case, or rather a relationship-by-relationship, basis. See generally, e.g., Carlson v.

SALA Architects, Inc., 732 N.W.2d 324, 331 (Minn. Ct. App. 2007) (declining to designate

an architect as a per se fiduciary of its client and instead looking to the specific facts to


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determine whether a fiduciary duty arose); Hajiabdi v. Metro. Transp. Network, Inc., No.

21-CV-268 (ECT/ECW), 2021 WL 3885653, at *4 (D. Minn. Aug. 31, 2021) (same for

employer-employee); Ciofoletti v. Securian Fin. Grp., Inc., No. 18-CV-3025 (JNE/ECW),

2021 WL 3579100, at *4 (D. Minn. Aug. 13, 2021) (same for an insurer-insured

relationship); Ransom v. VFS, Inc., 918 F. Supp. 2d 888, 897 (D. Minn. 2013) (same for

lessor-lessee). Allowing plaintiffs to recover without showing harm on a breach of

fiduciary duty claim against a de facto fiduciary, who may or may not have prior knowledge

or understanding of its fiduciary status is manifestly unfair, especially on a class-wide

basis.

         By contrast, attorneys are well aware of their per se fiduciary obligations and the

Rules of Professional Conduct including Rules requiring attorneys’ to avoid conflicts of

interest and demanding undivided loyalty to clients. No such ethical rules govern CHR, or

its relationships with growers. To equate a commercial, contract-based relationship, with

the attorney-client relationship and the policy considerations underlying it, is wrong and

cannot be the result intended by the Minnesota Supreme Court.

         Finally, in applying Minnesota law, this Court is bound only by the decisions of the

Minnesota Supreme Court. Badrawi v. Wells Fargo Home Mortg., Inc., 718 F.3d 756, 758

(8th Cir. 2013). If that court has not ruled on a particular issue, federal courts consider

what rule it would likely apply. Id. Decisions of the Minnesota Court of Appeals are not

binding on federal courts, but may be instructive. Associated Elec. & Gas Ins. Servs. v.

BendTec, Inc., 822 F.3d 420, 423 (8th Cir. 2016); Pleasants v. Am. Exp. Co., 541 F.3d 853,

858 (8th Cir. 2008). Because the Minnesota Supreme Court in Perl only considered this


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issue in the context of the attorney-client relationship, any subsequent decision or holding

by other courts in Minnesota, or around the country applying the Perl cases, is not binding

on this Court.10 And, because of the heightened duty owed by attorneys, not only as per se

fiduciaries, but also because of the ethical duties imposed upon attorneys, it does not make

sense to apply Perl here.

              c.     Review of Other Jurisdictions Demonstrates Why the Court
                     Should Not Adopt Plaintiffs’ Novel Position.

       Other jurisdictions’ analysis of non-attorney-client breach of fiduciary duty

provides compelling guidance here. Federal courts in the Second Circuit construing the

“disgorgement” theory of relief, as asserted by Plaintiffs, found actual harm necessary to

establish standing in ERISA cases alleging breach of fiduciary duty. See Hudson v. Nat’l

Football League Mgmt. Council, No. 1:18-CV-4483-GHW, 2020 WL 1547467, at *5

(S.D.N.Y. Mar. 31, 2020) (finding an ERISA breach of fiduciary duty “does not constitute




10
  Plaintiffs’ reliance on unpublished Minnesota Court of Appeals decisions in Hearing
Assocs., Inc. v. Downs, 2017 WL 2414852, at *11-12 (Minn. Ct. App. June 5, 2017), and
Workers’ Comp. Reinsurance Ass’n v. Wells Fargo Bank, N.A., 2012 WL 1253094, at *6
(Minn. Ct. App. Apr. 16, 2012), are not only non-precedential, but are further inapposite
because there, the respective juries found plaintiffs were actually damaged by defendants’
breach. Plaintiffs also rely upon Olson v. Pettibone, 210 N.W. 149 (Minn. 1926). Olson,
however, only stands for the fact equitable remedies are available for a breach of fiduciary
duty. Id. at 150. The Olson court allowed for the partial recession of a fraudulently-
induced contract—a situation wholly incomparable to Plaintiffs demand for speculative,
unpled damages in the form of customary shipping surcharges commonplace in the
industry. Id.




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an injury-in-fact sufficient for constitutional standing.’”) (quoting Trs. of the Upstate N.Y.

Eng’rs Pension Fund v. Ivy Asset Mgmt., 843 F.3d 561, 569 (2d Cir. 2016)).

       In Cent. States Se. & Sw. Areas Health & Welfare Fund v. Merck-Medco Managed

Care, L.L.C., for instance, a complaint was filed against defendants alleging an ERISA

breach fiduciary duty. 433 F.3d 181, 186 (2d Cir. 2005). Although the case settled, there

were post-settlement objections focusing on whether plaintiffs demonstrated harm. Id. at

197.

       Reversing the district court, the Second Circuit distinguished requests for

disgorgement from purely injunctive relief as it pertained to establishing actual injury,

explaining that “[o]btaining restitution or disgorgement under ERISA requires that a

plaintiff satisfy the strictures of constitutional standing by ‘demonstrat[ing] individual

loss,’ . . . to wit, that they have suffered an injury-in-fact.” Id. at 200 (internal citation

omitted). Citing the Eighth Circuit, the court stated ERISA beneficiaries must establish a

direct injury to assert an ERISA breach of fiduciary duty claim. Id. (citing Harley v. Minn.

Mining and Manufacturing Co., 284 F.3d 901, 906-07 (8th Cir. 2002) (finding no

constitutional standing because the “loss did not cause actual injury to plaintiff’s interests

in the plan” and the “limits on judicial power imposed by Article III counsel against

permitting participants or beneficiaries who have suffered no injury in fact from suing to

enforce ERISA fiduciary duties”).

       As these cases show, much like Plaintiffs’ PACA claim, failure to establish actual

harm raises justiciability issues—even where Plaintiffs only seek disgorgement, as in Cent.

States Se. & Sw. Areas Health & Welfare Fund. See also, e.g., Thorsen v. Sons of Norway,


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996 F. Supp. 2d 143, 162 n.11 (E.D.N.Y. 2014) (dismissing corporate board breach of

fiduciary duty claims due to plaintiffs failure to allege damages); Cherny v. Emigrant Bank,

604 F. Supp. 2d 605, 609 (S.D.N.Y. 2009) (same for a banker-client relation).

              d.     Non-Minnesota Case Law Cited by Plaintiffs Is Distinguishable.

       All of the cases cited by Plaintiffs outside of Minnesota also pertain to an attorney-

client relationship, and are thus inapposite and non-instructive. Burrow v. Arce, dealt

solely with the breach of an attorney’s fiduciary duty to a client under Texas law. 997

S.W.2d 229, 232 (Tex. 1999). Furthermore, the Court of Appeals of Texas provides a

compelling counterpoint to Burrow, which could just as well apply to the relationships

between CHR and the growers here. Distinguishing Burrow, the court reasoned:

              Burrow dealt with an attorney’s breach of fiduciary duty to his
              client and a request that the attorney forfeit his attorney’s fees,
              whereas the present case pertains to an employee’s breach of
              fiduciary duty to her employer.             The attorney-client
              relationship is one of ‘most abundant good faith,’ requiring
              absolute perfect candor, openness and honesty, and the absence
              of any concealment or deception. . . . In contrast, under Texas
              law, an employee does not owe an absolute duty of loyalty to
              her employer.

Ramin’ Corp. v. Wills, No. 09-14-00168-CV, 2015 WL 6121602, at *9 (Tex. App. Oct. 15,

2015) (internal quotations and citations omitted). Even if a fiduciary duty existed, CHR

does not owe the growers an absolute duty of loyalty concomitant with the duty imposed

upon attorneys.

       Similarly, Hendry v. Pelland, 73 F.3d 397, 402 (D.C. Cir. 1996), Huber v. Taylor,

469 F.3d 67, 77 (3d Cir. 2006) (applying Texas law), and Frank v. Bloom, 634 F.2d 1245,

1258 (10th Cir. 1980), are all attorney-client breach of fiduciary duty cases distinguishable


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for the same reasons. These non-Minnesota cases do not make Plaintiff’s argument to

extend the Perl Cases outside the attorney-client relationship any more compelling, and

Ramin’ Corp.’s critique of Burrow demonstrates why the attorney-client relationship is

unique and is entitled to heightened protections.

       2.      Even if Plaintiffs Could Establish a Breach of Fiduciary Duty Claim
               Without Proving Harm, the Proper Measure of Damages Would Be a
               Margin Analysis.

       The Minnesota Supreme Court has defined “damages” as any compensable damage

and “not just some abstract damage.” Hansen, 934 N.W. 2d at 327. Proof of ill-gotten

gains is the appropriate measure of damages as “[d]isgorgement wrests ill-gotten gains

from the hands of the wrong-doer” and is intended to be “remedial and not punitive.”

Allstate Inc. Co. v. Receivable Fin. Co., L.L.C., 501 F.3d 398, 413 (5th Cir. 2007); see also

In re: EpiPen ERISA Litig., No. 17-1884, 2020 WL 4501925, at *5 (D. Minn. Aug. 5, 2020)

(“Equity does not allow disgorgements of all profits but only those profits inequitably

retained.”). As such, if CHR has breached a fiduciary duty (and it has not), a margins

analysis is the proper, calculable method for determining damages for that breach.

Plaintiffs failed to provide this.

               a.     The “Freight Topping” Calculation Proposed by Plaintiffs
                      Cannot Serve As a Margin Analysis.

       Plaintiffs insist on offering their expert, D. Shawn Shaw’s, freight markup

calculations as damages for their breach of fiduciary duty claim (in addition to their PACA

claim). However, Shaw was not engaged to and did not attempt to conduct a margins

analysis. He was charged by Plaintiffs with finding the difference between what CHR was



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charged by carriers for freight on grower produce versus the charges CHR billed for that

freight—regardless of whether the growers bore those costs in any way. As Shaw himself

admitted, this “freight topping” calculation is untethered from any loss to any grower. (Ex.

28, Shaw Dep. Tr., 96:5-19, 202:24-204:9). Rather, the calculation, resulting in the

millions of dollars sought as damages by Plaintiffs, determines an average “freight topping

charge”—calculated by using freight fees Shaw was only able to identify in less than 60%

of the transactions—and multiplying it by the total number of growers. (Ex. 28, 152:23-

153:16).

       Such an analysis not only artificially increases the alleged “damages” but, by

Shaw’s own admission, cannot serve as a proxy for a margin analysis. (Ex. 28, 96:5-19,

202:24- 204:9). Further, Shaw was told to assume “freight topping charges” were charged

against grower proceeds, but never tested whether this was true (it is not), (Ex. 28, 93:21-

94:8, 95:5-16), and eliminated all potential CHR losses from his calculations. 11 (Ex. 28,

166:17-167:35). This type of calculation is not only factually problematic, but the exact

type of speculative damages the Minnesota Supreme Court has identified as completely

inappropriate. See supra; Hansen, 934 N.W.2d at 330.

       Plaintiffs have now rebranded Shaw’s “freight topping damages,” (ECF 91 at 12),

as “freight profit.” (ECF 159 at 20). This recharacterization is unsurprising given the case



11
   This was done because Shaw, who is not a lawyer, felt CHR should not be able to offset
its losses, (Shaw 166:17 – 167:35), and conflicts with Plaintiffs’ position that, “[t]o be
clear, Plaintiffs do not seek to recover damages from freight transactions in which CHR
did not make a profit.” (ECF 159 at 20).


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law reflected in Plaintiffs’ Motion. Moreover, it is false, as freight topping is not a proxy

for profits, unlike a margin analysis. Even in the non-precedential Minnesota appellate

court decisions cited by Plaintiffs, 12 the courts required individualized proof of actual

financial injury to recover damages for a breach of fiduciary duty. “Whether damages may

be awarded for breach of fiduciary duty must … be determined by an inquiry into whether

the plaintiff sustained financial injury” and “damages also may be measured by the amount

a defendant gained from a breach of fiduciary duty.” Blum v. Thompson, 901 N.W.2d 203,

216 (Minn. App. 2017) (internal quotations omitted); see also R.E.R. v. J.G., 552 N.W.2d

27, 29 (Minn. App. 1996) (observing breach of fiduciary duty claims generally sound in

equity, allowing recovery for “the lost value of an asset, the profit to which a beneficiary

was deprived, or any improper financial gains made by the fiduciary,” (citing Restatement

(Second) of Torts § 927 cmt.j. (1977))).

       Regardless of what they call it, disgorgement based on Plaintiffs’ “freight markup”

calculation—without regard to who paid for the freight, whether the freight cost impacted

growers in any way, or whether CHR actually profited—cannot serve as Plaintiffs’

damages model under either of Plaintiffs’ claims. To obtain disgorgement, it is Plaintiffs’

burden to demonstrate what profits were improperly gained. Turnbow v. Life Partners,


12
   Plaintiffs’ rely on unpublished appellate cases Minnesota statutory law expressly
prohibits citing as precedent. See Bloomquist v. Wisdom Develop. Group, LLC, No. A08-
0367, 2009 WL 67059 at *4 (Minn., App. 1996) (unpublished); Brcka v. Falcon Elec.
Corp., C8-00-1434, 2001 WL 641524 (Minn. App. June 12, 2001) (unpublished). MINN.
ST. SEC. 480A.08(3) expressly provides that “[a] statement of the decision without a
written opinion must not be officially published and must not be cited as precedent, except
as law of the case, res judicata, or collateral estoppel.”


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Inc., No. 3:11-CV-1030-M, 2013 WL 3479884, at *18 (N.D. Tex. July 9, 2013). Plaintiffs

offer no evidence supporting this, Shaw undertook no such calculation, and, with expert

report deadlines expired, Plaintiffs have foreclosed their opportunity to conduct a margins

analysis to establish compensatory damages for their breach of fiduciary duty claim.13

              b.      “Fee Forfeiture” Is Not Calculable As Class Damages.

       Plaintiffs also argue their proposed damages as an equitable remedy in the form of

the total or scaled forfeiture of commissions earned by CHR in its marketing and sale of

growers’ produce. (ECF 159 at 20). To allow Plaintiffs to pursue this relief as a matter of

law, the Court must once again extend the public-policy driven, attorney-misconduct Perl

Cases to commercial transactions. The state appellate cases cited by Plaintiffs do little to

lay the foundation to support this. Commercial Associates, Inc. v. The Work Connection,

Inc., 712 N.W.2d 772 (Minn. Ct. App. 2006), is facially distinguishable as the breach was

for failing to disclose accepting payment from the plaintiff and a third party for the same

product.14 Here, the commercial transactions are not double-dipping. Robinson Fresh




13
   Plaintiffs also repeatedly and falsely claim CHR admitted at oral argument that it made
“secret profit” from grower transactions and has records to demonstrate these amounts.
(ECF 159 at 23). CHR has repeatedly denied making “secret profits” from Grower
transactions, and the record indicates growers were aware CHR profited on freight
transactions. (See supra). In light of the parties’ obvious dispute on this issue, Plaintiffs’
mischaracterizations are at best rhetorical and at worst, a genuine issue of fact precluding
Plaintiffs’ motion for partial summary judgment on fiduciary duty questions 1 and 2.
14
  Again demonstrating the infirmities of citing to Minnesota appellate cases, Plaintiffs fail
to disclose Commercial Associates was later remanded on the issue of whether Plaintiff
had the right to receive the award sought, leaving this case unresolved at the appellate level.
Commercial Associates, Inc. v. The Work Connection, Inc., No. C2-03-8115, 2006 WL
4687275 (Minn. Dist. Ct. 2006). Plaintiffs also cite Workers’ Comp. Reinsurance Ass’n,

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marketed produce on commissions payable by the growers, and CHR brokered freight for

its customers at its customers’ expense. The produce was the same, but the services were

materially different—and CHR is not paid for produce, it is paid for the services it provides

growers and customers. See, e.g., Trenti, Saxhaug, Berger, Roche, Stephenson, Richards

& Aluni, Ltd., 439 N.W.2d 418, 422 (Minn. App. 1989) (forfeiture of legal fees charged

for services on separate matters inappropriate). Moreover, Plaintiffs have not provided

evidence CHR failed to live up to its contractual obligations in marketing produce, or

brokering freight for Delivered sales. To the contrary, growers understood and expected

CHR would both market product and broker freight to customers, as necessary to sell their

produce, raising genuine issues of fact as to the propriety of fee forfeiture for calculation

of an equitable remedy across the class.

                                      CONCLUSION

       Harm is the foundation of upon which relief is granted in American jurisprudence.

Plaintiffs’ should not be absolved of this burden because of their inability to establish this

essential element. Accordingly, for the foregoing reasons, CHR respectfully requests the

Court grant its Motion for Partial Summary Judgment, deny Plaintiffs’ Motion for Partial

Summary Judgement, and find Plaintiffs must establish actual harm to recover for the

alleged Section 2 violation and breach of fiduciary duty claim.




2012 WL 1253094 (unpublished), which as discussed supra should be disregarded under
MINN. ST. SEC. 480A.08(3), to the extent it is found instructive as non-binding case law.




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Date: June 3, 2022                 Respectfully submitted,

                                   BARNES & THORNBURG, LLP

                                   s/ Mark W. Wallin
                                   Mark W. Wallin (#0401450)
                                   Christina M. Janice (pro hac vice)
                                   One North Wacker Drive, Suite 4400
                                   Chicago, IL 60606-2833
                                   MWallin@btlaw.com
                                   Christina.janice@btlaw.com

                                   Patrick J. Rooney (#0198274)
                                   Bradley R. Hutter (#0396531)
                                   Fafinski Mark & Johnson PA
                                   Flagship Corporate Center
                                   775 Prairie Center Drive, Suite 400
                                   Eden Prairie, MN 55344
                                   (952) 995-9500
                                   patrick.rooney@fmjlaw.com
                                   bradley.hutter@fmjlaw.com

                                   Attorneys for Defendants




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